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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiff,                                   8:22–CR–4

         vs.                                            ORDER GRANTING MOTION TO
                                                       WITHDRAW AND DENYING MOTION
RAYMOND E. MCGAUGH,                                        TO REDUCE SENTENCE
                         Defendant.


        This matter is before the Court on the pro se Motion to Reduce Sentence filed by Defendant

Raymond E. McGaugh, Filing 56, and the Motion to Withdraw filed by Assistant Federal Public

Defender, Yvonne Sosa. Filing 58. After the Defendant filed his Motion to Reduce Sentence, the

Office of the Federal Public Defender was appointed to represent him pursuant to General Order

No. 2023-09. Filing 57. The purpose of this appointment was to determine whether the Defendant

qualified “for relief pursuant to either the 2023 U.S. Sentencing Guidelines amendments of

U.S.S.G. § 1B1.13 or U.S.S.G. § 1B1.10 providing for the retroactive application of Amendment

821[.]” Filing 57 at 1. Ms. Sosa has moved to withdraw as counsel because “the Defendant was

not assessed any ‘status criminal history points’ in the Presentence Investigation Report and

therefore no sentence reduction on this basis is allowed.” Filing 58 at 1. The United States

Probation Office also submitted a worksheet in this case which states that the Defendant is not

entitled to a reduction. Filing 59 at 2.

        The Court has conducted its own review of the Defendant’s pro se Motion along with other

relevant matters in the record. The Court concludes that the Defendant is not entitled to the

sentencing relief he seeks. His pro se Motion is without merit and will be denied. The Court

likewise concludes that Ms. Sosa’s Motion to Withdraw should be granted for the reasons she set

forth in her Motion. Accordingly,

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     IT IS ORDERED:

     1. Assistant Federal Public Defender Yvonne Sosa’s Motion to Withdraw, Filing 58, is
        granted; and

     2. Raymond E. McGaugh’s pro se Motion to Reduce Sentence, Filing 56, is denied.

     Dated this 4th day of April, 2024.

                                                BY THE COURT:


                                                _________________________
                                                Brian C. Buescher
                                                United States District Judge




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